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                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION

TROY MOXLEY and THOMAS SPIEGAL
Individually and on Behalf of All Other
Persons Similarly Situated,
                                           Case No. 8:21-cv-01760-TPB-JSS
                 Plaintiffs,

     vs.

OS RESTAURANT SERVICES, LLC
and BLOOMIN’ BRANDS, INC., together
doing business as BONEFISH GRILL,

               Defendants.
____________________________________/

   DEFENDANTS’ SUR-REPLY IN OPPOSITION TO PLAINTIFFS’
  MOTION TO CONDITIONALLY CERTIFY AN FLSA COLLECTIVE
                       ACTION
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       In their reply brief, Plaintiffs argue the Court must not consider evidence

presented by Defendants. In so doing, they mischaracterize the declarations

Defendants provide as arguing the merits of their claims.1 The evidence was

presented to demonstrate Plaintiffs are not similarly situated with others under 29

U.S.C. § 216(b), not to dispose of their claims. Moreover, when considering

conditional collective action certification, the Eleventh Circuit, and courts in this

District, recognize Defendants may submit their own evidence and they routinely

consider evidence presented by both parties.2 To do otherwise would constitute error




1
 Curiously, Plaintiffs submit their own evidence, which they do not characterize as arguing the
merits of their claims.
2
  See Grayson v. K Mart Corp., 79 F.3d 1086, 1097 (11th Cir. 1996) (noting plaintiffs may meet
their burden for conditional collective action certification when they provide detailed allegations
“which successfully engage defendants’ affidavits to the contrary”); Hipp v. Liberty Nat. life Ins.
Co., 252 F.3d 1208, 1219 (11th Cir. 2001); (same); Diggs v. Ovation Credit Services, Inc., No.
3:18-cv-367-J-34MCR, 2019 WL 4673813, *2, 5 (M.D. Fla. Sept. 25, 2019) (considering
defendant’s declarations and citing Grayson standard)) Layton v. Percepta, LLC, No. 6:17-cv-
1488-Orl-41DCI, 2018 WL 5492850, *3 (M.D. Fla. Sept. 21, 2018) (considering parties’
declarations and concluding plaintiffs’ evidence did not “successfully engage Defendant’s
Declarations to the contrary.”); Hart v. JPMorgan Chase Bank, N.A., No. 8:12-cv-00470-T-
27TBM, 2012 WL 6196035, *1 (M.D. Fla. Dec. 2, 2012)(citing defendant’s evidence and denying
conditional collective action certification); Denson v. Architectural Coatings, Inc., No. 8:10-cv-
1212-T-30TGW, 2011 WL 46122 (January 6, 2011)(same); Lee v. Sky Plumbing, No. 609-cv-
2109-Orl-31DAB, 2010 WL 745770 (M.D. Fla. March 1, 2010); Dunwiddie v. Central Locating
Service, Ltd. Corp., No. 5:04-cv-315-Oc-10GRJ, 2005 WL 8159851, *5 (January 25, 2005)
(comparing defendant’s declarations with plaintiffs’ evidence). Grayson and Hipp addressed
collective actions under the Age Discrimination and Employment Act of 1967, 29 U.S.C. § 621 et
seq., “that statute incorporates the FLSA's collective action mechanism,” and thus the analysis in
Grayson and Hipp “‘applies in both contexts.’” See Morgan v. Family Dollar Stores, Inc., 551
F.3d 1233, 1259 n.37 (quotation omitted).


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and render conditional collective action certification a mere pleading standard and

defendants’ opposition a legal nullity.

       Plaintiffs also contend the Court should not consider Defendants’ declarations

provided in their opposition to conditional collective action certification because

they are “inherently coercive.”3 However, the declarants consented to requested

interviews and voluntarily provided testimony without coercion. Exhibits A-Q,

Consents to Interview. Among other things, the declarants were provided with

multiple “procedural safeguards” and were advised (1) they had no obligation to

cooperate, (2) they would not suffer retaliation for declining to cooperate, nor would

they receive any benefit for doing so, and (3) Defendants may use information they

provided to defend this action. Moreover, Plaintiffs’ complaint they did not have an

opportunity to depose rings hollow because they moved for conditional collective

action certification before the parties met and conferred under Fed.R.Civ.P. 26(f),

thus precluding depositions. Likewise, Plaintiffs have not, since Defendants filed

their opposition to the motion for conditional collective action certification,

requested depositions of the declarants cited by Defendants in their opposition brief.




3
  Citing Billingsley v. Citi Trends, Inc., 560 Fed. Appx. 914, 922 (11th Cir. 2014), Plaintiffs also
claim the Court may “correct the effects of misleading, coercive, or improper communications
with potential FLSA collective members.” In that case, the defendant-employer had asked putative
plaintiffs to sign arbitration agreements while a motion for conditional collective action
certification was pending. That is not the dynamic presented here.

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DATED: January 5, 2022.

                                         Respectfully submitted,

                                         /s/ Gretchen M. Lehman
                                         Gretchen M. Lehman
                                         Florida Bar No. 0046365
                                         gretchen.lehman@ogletree.com
                                         OGLETREE, DEAKINS, NASH,
                                         SMOAK & STEWART, P.C.
                                         100 North Tampa Street, Suite 3600
                                         Tampa, Florida 33602
                                         Telephone: 813.289.1247
                                         Facsimile: 813.289.6530

                                                -and-

                                         Patrick F. Hulla (admitted pro hac vice)
                                         MO Bar No. 41745
                                         patrick.hulla@ogletree.com
                                         OGLETREE, DEAKINS, NASH,
                                         SMOAK & STEWART, P.C.
                                         4520 Main Street, Suite 400
                                         Kansas City, MO 64111
                                         Telephone: 816.471.1301
                                         Facsimile: 816.471.1303

                                         ATTORNEYS FOR DEFENDANTS




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                          CERTIFICATE OF SERVICE
      The undersigned certifies that on this 5th day of January, 2022, the foregoing

was electronically filed with the Clerk of the Court using the CM/ECF system, which

sent notification of such filing to the following:


                              Gregg I. Shavitz, Esq.
                               Fla. Bar No. 11398
                            gshavitz@shavitzlaw.com
                               Alan L. Quiles, Esq.
                               Fla. Bar No. 62431
                            aquiles@shavitzlaw.com
                          SHAVITZ LAW GROUP, P.A.
                           951 Yamato Road, Suite 285
                            Boca Raton, Florida 33431

                   Seth R. Lesser, Esq. (admitted pro hac vice)
                              seth@klafterlesser.com
               Christopher M. Timmel, Esq. (admitted pro hac vice)
                      christopher.timmel@klafterlesser.com
                          KLAFTER & LESSER LLP
                       Two International Drive, Suite 350
                           Rye Brook, New York 10573

                               Attorneys for Plaintiffs


                                        /s/ Gretchen M. Lehman
                                        Attorney

                                                                            49813029.1




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